 

 

Case 16-11409-LSS Doc 267 Filed 03/30/17 Page1of5

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re:
SEVENTY SEVEN FINANCE INC.,

Debtor

 

In re:
SEVENTY SEVEN ENERGY INC.,

Debtor

 

Tn re:
SEVENTY SEVEN OPERATING LLC,

Debtor

 

In re:
GREAT PLAINS OILFIELD RENTAL, L.L.C.,

Debtor

 

In re:
SEVENTY SEVEN LAND COMPANY LLC,

Debtor

 

In re:
NOMAC DRILLING, L.L.C.,

Debtor

 

In re:
PERFORMANCE TECHNOLOGIES, L.L.C.,

Debtor

 

 

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Chapter 11

Case No. 16-11409 (LSS)
Re: D.I. 258

Chapter 11

Case No. 16-11410 (LSS)

Chapter 11

Case No. 16-11411 (LSS)

Chapter 11

Case No. 16-11412 (LSS)

Chapter 11

Case No. 16-11413 (LSS)

Chapter 11

Case No. 16-11414 (LSS)

Chapter 11

Case No. 16-11415 (LSS)

 
 

 

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In re: ) Chapter 11

PTL PROP SOLUTIONS, L.L.C., 5 Case No. 16-11416 (LSS)
Debtor

In re: 5 Chapter 11

SSE LEASING LLC, 5 Case No. 16-11417 (LSS)
Debtor

In re: Chapter 11

KEYSTONE ROCK & EXCAVATION, L.L.C., 5 Case No. 16-11418 (LSS)
Debtor

In re: , Chapter 11

WESTERN WISCONSIN SAND COMPANY, LLC, 5 Case No. 16-11419 (LSS)
Debtor ) AL: doclt #264

 

FINAL DECREE (I) CLOSING THE CHAPTER 11 CASES AND
(11) TERMINATING CERTAIN CLAIMS AND NOTICING SERVICES

Upon the motion (the “Motion”)! of the above-captioned reorganized debtors (the

 

“Reorganized Debtors”) for entry of a final decree (this “Final Decree”) closing these chapter 11
cases, authorizing the Reorganized Debtors to retain certain warrants and terminating certain
claims and noticing services, all as more fully set forth in the Motion; and the Court having
found that it has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the
Amended Standing Order of Reference from the United States District Court for the District of
Delaware, dated February 29, 2012; and the Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); and the Court having found that venue of this proceeding and

 

Capitalized terms not defined herein are defined in the Motion.

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@ the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court
having found that the relief requested in the Motion is in the best interests of the Debtors’ estates,
their creditors, and other parties in interest; and the Court having found that Debtors’ notice of
the Motion and the opportunity for a hearing on the Motion was appropriate under the
circumstances and no other notice need be provided; and the Court having reviewed the Motion;
and the Court having determined that the legal and factual bases set forth in the Motion establish
just cause for the relief granted herein; and upon all of the proceedings had before the Court; and
after due deliberation and sufficient cause appearing therefor;

IT IS HEREBY ORDERED THAT:
1. The Motion is GRANTED.
2. The following chapter 11 cases of the Reorganized Debtors are hereby

closed; provided that this Court shall retain jurisdiction as provided in Article XI of the Plan:

        

  

 

 

 

 

 

 

 

 

 

 

Ce Deer Case No. _
Seventy Seven Finance Inc. 16-11409
Seventy Seven Energy Inc. 16-11410
Seventy Seven Operating LLC 16-11411
Great Plains Oilfield Rental, L.L.C. 16-11412
Seventy Seven Land Company LLC 16-11413
Nomac Drilling, L.L.C. 16-11414
Performance Technologies, L.L.C. 16-11415
PTL Prop Solutions, L.L.C. 16-11416
SSE Leasing LLC 16-11417
Keystone Rock & Excavation, L.L.C. 16-11418
Western Wisconsin Sand Company, LLC 16-11419

 

 

 

 

 
 

 

 

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3. Entry of this Final Decree is without prejudice to (a) the rights of the
Reorganized Debtors or any party in interest to seek to reopen any of these chapter 11 cases for
cause pursuant to section 350(b) of the Bankruptcy Code, and (b) the rights of the Reorganized
Debtors to dispute, in an appropriate non-bankruptcy forum, all claims that were filed against the
Reorganized Debtors in these chapter 11 cases as contemplated by the Plan and the Confirmation
Order.

4, The Reorganized Debtors shall, on or before 30 days after entry of this
Final Decree: (a) pay all fees due and payable pursuant to 28 U.S.C. § 1930(a)(6); and (b) serve
copies of all post-confirmation reports on the U.S. Trustee. Entry of this Final Decree is without
prejudice to the rights of the U.S. Trustee to reopen these chapter 11 cases to seek appropriate
relief in the event of an unresolved dispute over the payment of fees pursuant to 28 U.S.C. 3
1930(a)(6) or the post-confirmation reports.

5. The Claims and Noticing Services are terminated in accordance with the
Motion upon the completion of the services listed in paragraph 6 below. Thereafter, Prime Clerk
shall have no further obligations to this Court, the Debtors, the Reorganized Debtors, or any
other party in interest with respect to the Claims and Noticing Services in these chapter 11 cases.

6. Pursuant to Local Rule 2002-1(f)(ix), within 30 days of entry of this Final
Decree, Prime Clerk (or the Reorganized Debtors, as applicable) shall (a) forward to the Clerk of
the Court an electronic version of all imaged claims, (b) upload the creditor mailing list into
CM/ECF, and (c) docket a Final Claims Register in the lead case containing claims of all cases.
Prime Clerk shall box and deliver all original claims to the Philadelphia Federal Records Center,
14470 Townsend Road, Philadelphia, Pennsylvania 19154 and docket a completed SF-135 Form

indicating the accession and location numbers of the archived claims. In addition to the

 
 

 

 

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foregoing, pursuant to Local Rule 2002-1(f)(xii), Prime Clerk shall docket a Final Claims
Register in each jointly-administered case containing the claims of only that specific case.

7. Should Prime Clerk receive any mail regarding the Reorganized Debtors
or the Debtors after entry of this Final Decree, Prime Clerk shall collect and forward such mail
no less frequently than monthly to the Reorganized Debtors.

8. The Reorganized Debtors and their agents are authorized to take all
actions necessary to effectuate the relief granted pursuant to this Final Decree in accordance with
the Motion.

9. Notwithstanding anything to the contrary, the terms and conditions of this
Final Decree shall be immediately effective and enforceable upon its entry.

10. The Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation, interpretation, and/or enforcement of this Final! Decree.

 

Dated: / ede 4 , 2017
Wilmington, Delaware { 7 Dy

HONORABLE LAURIE SELBER SILVERSTEIN
UNITED STATES BANKRUPTCY JUDGE

 
